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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RAPID SLICER, LLC,

V.

BUYSPRY, et al.,

Plaintiff,

Defendants.

Civil Action No. 19-249

(Judge Horan)

 

REQUEST FOR ENTRY OF DEFAULT

To the Clerk of the U.S. District Court for the Western District of Pennsylvania

You will please enter the default of the Defendants 1,4,5,8,9,13,14,15, and 17

identified on Attachment “A” hereto for failure to plead or otherwise defend as provided by

the Federal Rules of Civil Procedure as appears from the Affidavit of Brian Samuel Malkin

in Support of Request to Enter Default hereto attached.

Dated: June 20, 2019

Respectfully submitted,

/s/ Brian Samuel Malkin
Stanley D. Ference III
Pa. ID No. 59899
courts@ferencelaw.com

Brian Samuel Malkin
Pa. ID No. 70448
bmalkin@ferencelaw.com

FERENCE & ASSOCIATES LLC
409 Broad Street

Pittsburgh, Pennsylvania 15143
(412) 741-8400 — Telephone

(412) 741-9292 — Facsimile

Attorneys for Plaintiff
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AND NOW, this DAY of , 2019, pursuant to the request to
enter default and affidavit(s) filed, default is hereby entered against the Defendants in

Attachment “A” for failure to plead or otherwise defend.

 

Clerk
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Attachment “A”

DEFENDANTS BY STORENAME AND MERCHANT ID

 

 

 

 

 

 

 

 

 

 

 

 

 

Def Store Name Merchant ID

No.
1 buyspry 597aaf37c7f5057fd5582f62
4 chanzon 594e136cabea91780b592536
5 daisyyshop 58dba57e3af68752ad25314b
8 Honney Home 5610c46937552bSabcf{896ee
9 Incoherent Saaa9a2cccf0c86989644c3f
13 R-fer3C 58dal 0e43743c352cdfaf55c
14 ringsmart 54ad1 facd630ed1ad698d029
15 sijifuzhuangku Saf0f49849727961ba55e10a
17 woyaobangbangde Sac4fc66a7 1 fbf76e68c25cb

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RAPID SLICER, LLC,

Plaintiff, Civil Action No. 19-249
Vv. (Judge Horan)
BUYSPRY, et al.,

Defendants.

 

AFFIDAVIT OF BRIAN SAMUEL MALKIN
IN SUPPORT OF REQUEST TO ENTER DEFAULT

COMMONWEALTH OF PENNSYLVANIA }

} Ss:
COUNTY OF ALLEGHENY }

Brian Samuel Malkin, being duly sworn, says that he is an attorney for Plaintiff in the
above-entitled action, that the complaint and a summons in this action was served on all of
the Defendants identified on Attachment “A” to the Request for Entry of Default as of March
26, 2019; that the time within which such Defendants may answer or otherwise move as to
the complaint has expired; that such Defendants have not answered or otherwise moved and
that the time for such Defendants to answer or otherwise move has not been extended.

Dated: June 20, 2019 Cuiin hud bdblh.
Brian Samuel Malkin

Sworn to and subscribed before me this
20th day of June, 2019

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: COMMONWEALTH OF PENNSYLVANIA
I); yl) NOTARIAL SEAL
J) MAL ‘ ae Daniels, Notary Public
= Vv e
byotary Pabiic a ei — Boro, Allegheny County

Ssion Expires Feb, 2, 2021
MEMBER, ENNSYLVANIA ASSOCIATION OF NOTARIE

 
  

 

 

   

 

 

My commission expires:
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CERTIFICATE OF SERVICE

I hereby certify that on June 20, 2019, the foregoing document is being filed via the
Case Management/Electronic Case Filing (CM/ECF) system; I also certify that on June 20,
2019, a true copy of the foregoing is being served by email and mail, where said information
is known to plaintiff and via publication by posting a true and correct copy on the website
www.ferencelaw.com in accordance with the Order Authorizing Alternate Service, as

modified by the Preliminary Injunction Order entered on April 11, 2019.

/s/ Brian Samuel Malkin
Brian Samuel Malkin
